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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
v.
: VIOLATIONS:
DARRELL NEELY, : 18 U.S.C. §§ 231(a)(3), 2
: (Civil Disorder)
Defendant. : 18U,S.C. § 641

(Theft of Government Property)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, DARRELL NEELY
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, lawfully engaged in the lawful performance of his/her official duties, incident
to and during the commission of a civil disorder, which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commence
and the conduct and performance of any federally protected function, and aiding and abetting to

do the same.
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(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Sections 231(a)(3) and 2)
COUNT TWO

On or about January 6, 2021, within the District of Columbia, DARRELL NEELY did
embezzle, steal, purloin, knowingly convert to his use and the use of another, and without
authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the
United States and any department and agency thereof, that is a U.S. Capitol Police patch, badge,
name tag, and baseball hat, which has a value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, DARRELL NEELY did
unlawfully and knowingly enter and remain ina restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18
United States Code, Section 1752(a)(1))

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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, DARRELL NEELY did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
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conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, DARRELL NEELY
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, DARRELL NEELY
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Pobre byerse

Attorney of the United States in
and for the District of Columbia.
